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       CURRICULUM VITAE FOR NICHOLAS B. ALLEN Ph.D.

CURRENT POSITIONS AND PROFESSIONAL ADDRESS

             Ann Swindells Professor of Clinical Psychology
             Director, Center for Digital Mental Health
             Director of Clinical Training
             Department of Psychology
             University of Oregon
             Eugene OR 97403-1227
             USA

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             W: https://adaptlab.uoregon.edu/
             W: https://www.c4dmh.net/
             E-mail: nallen3@uoregon.edu

Other appointments:

             Senior Research Scientist
             Oregon Research Institute
             1776 Millrace Drive
             Eugene, OR 97403
             USA
             Email: nicka@ori.org

             Professorial Fellow
             Melbourne School of Psychological Sciences
             University of Melbourne
             Victoria 3010
             Australia
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HOME ADDRESS

             2288 Alder Street
             Eugene OR 97405
             USA

             Cell: +a 541 515 9158

DATE OF BIRTH: April iith 1963

CITIZENSHIP: Australian citizen, US Permanent resident




EDUCATION

             1988-1993:
                           University of Melbourne (Australia)
                           Doctor of Philosophy (Clinical Psychology)
                           Dissertation Topic: "Sociotropy and            Autonomy:
                           Personality Factors in Depression"

             1986-88:       University of Melbourne (Australia)
                            Master of Science (Clinical Psychology)

             1981-85:      University of Melbourne (Australia)
                           Bachelor of Science
                           Degree with Honors(First Class)
                           Majoring in Psychology




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WORK EXPERIENCE

       June 2024- Present
              Ann Swindells Professor of Clinical Psychology
              University of Oregon, USA

              Duties include: Teaching in areas of psychopathology, Intervention Science,
              Assessment and clinical diagnostics. Graduate teaching. Supervision of
              students' practice of clinical psychology as part of departmental clinic.
              Supervision of graduate research projects. Independent research activities.
              Leadership positions within the Department, including membership of
              Executive Committee, Director of Clinical training, and Chairperson of the
              Committee for an Inclusive Community.

       July 1998- June 203.4
               Lecturer to Full Professor in Psychology 1
               University of Melbourne, Australia

              Duties included: Teaching in areas of developmental psychology,
              psychopathology, psychophysiology, and clinical diagnostics. Coordination of
              and teaching into large undergraduate units. Postgraduate teaching. Supervision
              of students' practice of clinical psychology as part of departmental clinic.
              Supervision of graduate research projects. Independent research activities.
              Leadership positions within the school, including membership of Executive
              Committee(4 years), and Chairperson of Technical Services(3 years) and Human
              Research Ethics (3. year) Committees.

       July 2002- June 2012
              Principal Research Fellow in Psychology
              Secondment based at the ORYGEN Youth Health Research Centre
              University of Melbourne, Australia

              Duties included: Developing and conducting research projects into affect and
              affective disorders in adolescence and young adulthood, including studies of the
              emergence of affective and substance use disorders, treatment and early
              intervention for affective disorders, and affective and social neuroscience
              approaches to studying the psychopathology of affective and substance use
              disorders.




1(Equivalent to North American Assistant Professor to Full Professor)


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July 1998-June 2007
       Private Practice in Clinical Psychology(Part time)

       Duties included: Assessment and treatment of clients with mood,anxiety, eating,
       psychotic and personality disorders. Referral sources included public and private
       psychiatry, courts, legal officers and general practitioners. Supervision of clinical
       practice of other psychologists.

November 1995- June 1998
     Early Career Research Scientist
     Depression Project
     Oregon Research Institute USA

       Duties included: Writing scientific papers; designing, writing, and submitting new
       research grant applications. Supervision of diagnostic interviewers and
       participation in various reliability and quality control processes with respect to
       diagnostic interviewing. I also served on ORI's IRB(Human Subjects Committee).

July 1993- November 1995
        Lecturer in Clinical Psychology
        Department of Psychology
        University of Melbourne, Australia

       Duties included: Teaching in areas of abnormal psychology, psychological
       assessment, cognitive behavioral treatment. Supervision of students' practice of
       clinical psychology as part of departmental clinic. Supervision of graduate
       research projects. Independent research activities.

July 1993- November 1995
        Adjunct Lecturer in Psychiatry
        Department of Psychiatry
        University of Melbourne, Australia

       Duties included: Teaching psychological science and cognitive-behavioral
       intervention to psychiatry trainees.

July 1993- November 1995
        Senior Clinical Psychologist
        Department of Psychiatry
        St. Vincent's Hospital, Melbourne, Australia




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       Duties included: Assessment and treatment of psychiatric inpatients and
       outpatients. Supervision of psychological treatment by other staff, including
       psychologists, psychiatrists in training, social workers.

March 1992-July 1993:
      Lecturer in Psychology
      School of Psychology
      Deakin University, Geelong, Australia

       Duties included: Teaching undergraduate psychology, especially physiological
       psychology, personality, and abnormal psychology. Co-ordination of large
       undergraduate unit on physiological psychology, including extensive laboratory
       component.

March 1988-February 1991:
      Tutor in Medical Psychology
       Medical Psychology and Behavioral Sciences Unit
      Department of Psychiatry
       University of Melbourne, Australia

       Duties included: Teaching psychology to medical students, especially
       applications of psychology to medicine.

March 1988-February 1991:
       Clinical Psychologist
       Department of Psychiatry
      Royal Melbourne Hospital, Australia

       Duties included: Assessment and treatment of outpatients, psychiatric
       inpatients, and general medical and surgical inpatients.

January 1989-November 1995
      Part Time Private Practice in Clinical Psychology
      Partnership Systems Pty. Ltd. Psychological Services
      Australia

      Duties included: Consulting with private clients seeking assistance with
      emotional and marital difficulties. Preparation of legal reports.

April 1990-February 1991:
        Research Assistant(Part Time)for Dr. David Ames
       "Prognosis of Depression in the Elderly"



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       Department of Psychiatry
       University of Melbourne

       Duties included: Co-ordination of research project with depressed elderly
       inpatients. Assessment of elderly psychiatric inpatients using structured
       diagnostic interviews, cognitive testing, and psychometry.

July 1987-November 1987:
       Student Clinical Psychology Placement
       Children's Court Clinic of Victoria, Australia

       Duties included: Preparation of reports on juvenile offenders to assist with court
       sentencing.


January 1987-July 1987:
      Student Clinical Psychology Placement
       Child Psychiatry Unit
      Sunshine Hospitals and Health Services Society
       Duties included: Treatment of child and adolescent outpatients for a variety of
       non-psychotic psychological problems.

Previous work while studying has also included experience as a mental retardation aide
with the Office for Intellectual Disability Services, a Youth Worker with the Box Hill
Community Youth Support Scheme and as a professional musician.




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KEY RESEARCH QUESTIONS

Throughout the lifespan there are certain developmental transitions that appear to be
particularly important for determining a person's mental health. The transition from childhood
to adolescence is especially important, as many serious mental health problems, such as
depression and substance abuse, emerge for the first time during or after this transition. In my
research group, we use a developmental psychopathology approach to understand how children
and adolescents are affected by the environments in which they grow up. We have especially
focused on how family interactions and other aspects of the child's environment that have been
shown to increase risk for mental health problems (e.g., stress, abuse, socio-economic
disadvantage) influence the child or adolescent's emotional functioning and the development
of the biological systems that undergird these emotions. The aim of this work is to not only shed
light on the underlying causes of mental health and ill-health during these stages of life, but also
to inform developmentally targeted approaches to prevention and early intervention, including
studies focusing on sleep, parenting, and teen sexual and romantic relationships as modifiable
risk factors for poor mental health. Through the Center for Digital Mental Health our work
focuses on using mobile and wearable devices, and social media, to unobtrusively track and
analyze behavior in order to detect mental health needs and provide adaptive, personalized
interventions exactly when users need them.

PROFILE OF RESEARCH INTERESTS

   •   Clinical Psychology
           o Using technology to transform mental health services
           o Youth mental health
           o Integrative (i.e., biopsychosocial) models of affective and substance use disorders
           o Causes of the emergence of affective and substance use disorders during
               adolescence
           o Early intervention and prevention of affective and substance use disorders
           o Evolutionary bases of emotion and psychopathology
           o Cognitive and behavioral therapies
           o Mobile and wearable technology in mental health assessment and intervention
   •   Developmental Psychology
           o Developmental psychopathology
           o Adolescent brain and behavioral development
           o Family processes in adolescent development and risk for depression and
               substance abuse
   •   Behavioural Neuroscience
           o Developmental affective and social neuroscience




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                                          PUBLICATIONS

(N.B. Authors who were students or postdoctoral staff under my supervision during their
              authorship are identified with italics.)

BOOKS

   1.   Jorm, A., Allen, N.B., Morgan, A., Ryan, S., & Purcell, R.(2013). A guide to what works
        for depression (Second Edition). Beyondblue Australia.
   2.    Purcell, R., Ryan, S., Scanlan, F., Morgan, M., Callahan, P., Allen, N.B., Jorm, A.(2013).
        A guide to what worksfor depression in young people. Beyondblue Australia.
   3.    Reavley, N., Allen, N.B., Jorm, A., Morgan, A., & Purcell, R.(2010). A guide to what
         worksfor anxiety disorders. Beyondblue Australia.
   4.   Jorm, A.F., Allen, N.B., Purcell, R., Hetrick, S., & Morgan, A.(2009). A guide to what
         worksfor depression. Beyondblue Australia.
   5.   Woods, S., Allen, N.B., & Pantelis, C.(2009). The neuropsychology of mental illness.
        Cambridge University Press.
   6.   Allen, N.B. & Sheeber, L.(2008). Adolescent emotional development and the emergence
        ofdepressive disorders. Cambridge University Press.

MAJOR REPORTS

   7. Patton, G. C., Sawyer, S. M., Santelli, J. S., Ross, D. A., Afifi, R., Allen, N. B., ... & Viner,
      R.(2016). Our future: A Lancet commission on adolescent health and wellbeing. The
      Lancet,387(10036), 2423-2478.

BOOK CHAPTERS

   8. Davies, B. & Allen, N.B.(In press). Treatment of adolescent mental disorders. In The
       Encyclopedia of Child and Adolescent Development. Wiley.
   9. Allen, N.B., & Nelson, B.W.(In press). The development of emotion regulation across
       the transition from childhood to adolescence: Regulation of what and regulation for
       whom? In P. Cole and T. Hollenstein (Eds.) Emotion Regulation: A Matter of Time. Taylor
       and Francis.
   10. Whittle, S. Simmons, J.G. & Allen, N.B.(2017). Emotion and gender specific neural
       processing in men and women. In M.J. Legato (Ed.) Principles ofgender specific
       medicine: Gender in the genomic era. Elsevier.
   12. Byrne, M.L., Latham, M.D. & Allen, N.B.(2017). Depressive disorders: Lifespan
       perspectives. The SAGE Encyclopaedia ofAbnormal and Clinical Psychology. SAGE.
   12. Dwyer,  D.B., Harrison, B.J., Yiicel, M., Whittle, S., Zalesky, A., Pantelis, C., Allen, N.B.,
       Fornito, A.(2016). Adolescent Cognitive Control; Brain Network Dynamics. In G. Fink
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    Academic Press.
13. Viner, R. M., Allen, N.B., & Patton, G. C.(2016) Puberty, Developmental Processes, and
    Health Interventions. In D. Bundy, N. de Silva, S. E. Horton, D. Jamison, and G. Patton.
   (Eds). Disease Control Priorities (third edition): Volume 8, Child and Adolescent Health
    and Development. Washington, DC: World Bank.
14. Allen, N.B., Latham, M.D., Barrett, A., Sheeber, L. and Davis, B.(2015) Pubertal
    development and the emergence of the gender gap in affective disorders, in Castle, D.J.
    and Abel, K.M.(eds.) Comprehensive Women's Mental Health. Cambridge: Cambridge
    University Press, pp. 55-64.
15. Allen, N.B., Whittle, S., Yap, M.B.H., & Sheeber, L.B.(2010). Der einfluss von
    erfahrungen in der familie auf die entwicklung des gehirns und aggressive
    verhaltensstorungen bei jugendlichen. In K.Brisch (Ed.) Bindung, Angst und Aggression.
    Klett-Cotta, Stuttgart.
16. Sheeber, L., Allen, N.B., & Davis, B.(2009). Childhood Depression: Family Context. In
    R. E. Ingram (Ed.), international encyclopedia ofdepression (pp. 123-125). New York:
    Springer.
17. Whittle, S., Yijcel, M., & Allen, N.B.(2009). The neurobiology of the emotional
    response: Perception, experience and regulation. S. Wood, N. Allen, and C. Pantelis
   (eds.) Handbook ofthe neuropsychology of mental illness: Cambridge University Press
   (UK).
18. Davey, C.G., & Allen, N.B., Koutsogiannis, J., Garvin, T.M., & Athanasopoulos, O.
   (2008). El programa ORYGEN como tratamiento de la fase temprana de los trastornos
    depresivos. In Vazquez-Barquero, J.L., Mateos, J.L.A., & Simon, J.A.(Eds.) Los
    trastornos depresivos. Elsevier & Masson.
19. Davey, C., & Allen, N.B.(2008) Intervenciones psicolOgicas frente a los primeros
    episodios de depresion: tuna oportunidad Unica Para modificar la evolucion de la
    depresion a lo largo de la vida? In Vazquez-Barquero, J.L., Mateos, J.L.A., & Simon, J.A.
   (Eds.) Los trastornos depresivos. Elsevier & Masson.
20. Allen, N.B. & Sheeber, L.B.(2008). Towards a developmental psychopathology of
    adolescent onset depression: Implications for research and intervention. In Allen, N.B.
    & Sheeber, L.(2008). Adolescent emotional development and the emergence of
    depressive disorders. Cambridge University Press(UK).
21. Allen, N.B. & Sheeber, L.B.(2008). The importance of affective development for the
    emergence of depressive disorders during adolescence. In Allen, N.B. & Sheeber, L.
   (2008). Adolescent emotional development and the emergence ofdepressive disorders.
    Cambridge University Press(UK).
22. Badcock, P.B. T. & Allen N.B.(2007) Evolution, social cognition, and depressed mood:
    Exploring the relationship between depressed mood and social risk taking. In Forgas,
    J.P., Haselton, M.G., von Hippel, W.(eds.) Evolution and the Social mind: Evolutionary
    psychology and social cognition. New York: Psychology Press.




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    Burton, & R. Kowolski (Eds.)Psychology(Australian and New Zealand Edition). Milton,
    Queensland: John Wiley and Sons.
24. Allen, N.B.(2006). Cognitive psychotherapy. In S. Bloch (Ed.) An introduction to the
    psychotherapies.(4th Edition). Oxford: Oxford University Press.
25. Allen, N.B., Barrett, A., Sheeber, L., & Davis, B.(2006). Pubertal development and the
    emergence of the gender gap in mood disorders: A developmental and evolutionary
    synthesis. In D. Castle, J. Kulkarni & K. Abel (Eds.) Mood and anxiety disorders in women.
    Cambridge: Cambridge University Press.
26. Allen, N.B., & Knight, W.(2005). Mindfulness, compassion for self, and compassion for
    others: Implications for understanding the psychopathology and treatment of
    depression. In P. Gilbert (Ed.), Compassion: Its Nature and Use in Psychotherapy.
    London: Brunner-Routledge.
27. Allen, N.B., Gilbert, P., & Semedar, A.(2004). Depression as an interpersonal strategy:
    The importance of relational models. In N. Haslam, (Ed.) Relational models theory:
    Advances and prospects. Mawah, NJ: Lawrence Earlbaum and Associates.
28. Allen, N.B. & Gilbert, P.(2000) Social intelligence, deception, and psychopathology: A
    challenge for cognitive therapy? In P. Gilbert & K. Bailey (Eds.) Genes on the couch:
    Evolutionary approaches to psychotherapy. London: Psychology Press.
29. Allen, N.B. (2996) Cognitive psychotherapy. In S.Bloch (Ed.) Introduction to the
    psychotherapies. Oxford: Oxford University Press.




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2018 and In Press

   3o. Ambrosia, M., Eckstrand, K.L., Morgan, J.K., Allen, N.B., Jones, N.P., Sheeber, L., Silk,
       J.S., Forbes. E.E.(2018). Temptations of friends: Adolescents' neural and behavioral
       response to best friends predicts risky behavior. Social Cognitive and Affective
       Neuroscience, 13(5), 483-491.
   31. Barendse, M., Simmons, J.G., Byrne, M.L., Seal, M.L., Patton, G., Mundy, L., Wood,
       S.J., Olssen, C., Allen, N.B., & Whittle, S.(2018). Brain structural connectivity during
       adrenarche: associations between hormone levels and white matter microstructure.
       Psychoneuroendocrinology, 88, 7o-77.
   32. Bayer, J.K., Mundy, L., Stokes, I., Hearps, S., Allen, N.B. & Patton, G.(In Press).
       Bullying, mental health and friendship in Australian primary school children. Child and
       Adolescent Mental Health.(Accepted December 2017).
   33. Blake, M.J., Blake, L., Schwartz, O., Raniti, M., Waloszek, J., Murray, G.W., Simmons,
       J.G., Landau, E., Dahl, R., McMakin, D., Dudgeon, P., Trinder, J., & Allen, N.B.(2018).
       Who benefits from adolescent sleep interventions? Moderators of treatment efficacy in
       a randomized controlled trial of a cognitive-behavioral and mindfulness-based group
       sleep intervention for at-risk adolescents. Journal of Child Psychology and Psychiatry,
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   34. Blake, M.J., Trinder, J.A., & Allen, N.B.(2018). Mechanisms underlying the association
       between insomnia, anxiety, and depression in adolescence: Implications for behavioral
       sleep interventions. Clinical Psychology Review.(Accepted May 2018).
   35. Bodner, N., Kuppens, P., Allen, N.B., Sheeber, L., & Ceulemans, E.(2018). Affective
       family interactions and their associations with adolescent depression: A dynamic
       network approach. Development and Psychopathology.(Accepted June 2017).
       https://doi.orgh.o.1017/So95457943.7oo1699
   36. Byrne, M.L., Schwartz, 0.S., Simmons, J.G., Sheeber, L., Whittle, S., & Allen, N.B.
      (2018). Duration of breastfeeding and subsequent adolescent obesity: Effects of
       maternal behavior and socio-economic status. Journal ofAdolescent Health, 62(4), 471-
       479.
   37. Cheetham, A., Allen, N. B., Whittle, S., Simmons, J., Yiicel, M., & Lubman, D. I. (In
       press). Amygdala volume mediates the relationship between externalizing symptoms
       and daily smoking in adolescence: a prospective study. Psychiatry Research:
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   38. Dahl, R.E., Allen, N.B., Wilbrecht, L. & Suleiman, A.B.(2018). Importance of investing
       in adolescence from a developmental science perspective. Nature,554(7693), 441-450.
   39. Flores, L.E., Eckstrand, K.L., Silk, J.S., Allen, N.B., Ambrosia, M., Healey, K.L., &
       Forbes, E.E.(In press). Adolescents' neural response to social reward and real-world




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    emotional closeness and positive affect. Cognitive, Affective, and Behavioral
    Neuroscience.(Accepted April 2018).
40. Herting, M.M., Johnson, C., Mills, K.L., Vijayakumar, N., Dennison, M., Liu, C.,
    Goddings, A., Dahl., R.E., Sowell, E.R., Whittle, S., Allen, N.B. & Tamnes, C.K.(In
    Press). Development of subcortical volumes across adolescence in males and females:
    A multisample study of longitudinal changes. Neuroimage.(Accepted January, 2018).
41. Horn, S.R., Long, M.M., Nelson, B.W., Allen, N.B., Fisher, P.A., & Byrne, M.L.(2018).
    Replication and reproducibility issues in the relationship between C-reactive protein
    and depression: A systematic review and focused meta-analysis. Brain Behavior and
    immunity.(Accepted June 2018).
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    Allen, N.B., & Patton, G.C.(In press). Body image dissatisfaction and the adrenarchal
    transition. Journal ofAdolescent Health.(Accepted May 2018).
43. Kapungu C., Petroni S., Allen N.B., Brumana, L., Collins, P., DeSilva, M., Haj-Ahmad, J.,
    Leichner, A., Lockwood Estrin, G., Patton, G., Pringle, B., Omigbodun, O., Singh, S.,
    Dua, T., Zeck, W.(2018). Gendered influences on adolescent mental health in low-and
    middle-income countries: Recommendations from an expert convening. Lancet Child &
    Adolescent Health, 2(2), 85-86.
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    facial expressions and gaze direction. Journal ofPsychophysiology.(Accepted April
    2018).
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    of the association between depressive symptoms and deficits in producing divergent
    inferences. Creativity Research Journal, 30(1), 67-77.
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    short: The serotonin transporter gene, positive parenting and adolescent depression.
    Child Development.(Accepted, May, 2017). https://doi.org/ao.m1/cdev.12987
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    Psychoneuroendocrinology, 88, 38-46.
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  55. Xiang-Zhen, K., Canales Rodriguez, E. J., Clyde, F., & ENIGMA Consortium.(2018).
      Mapping Cortical Brain Asymmetry in 17,141 Healthy Individuals Worldwide via the
      ENIGMA Consortium. Proceedings ofthe National Academy ofSciences(PNAS), in press.

2017
  56. Badcock, P.B.T., Davey, C.G., Whittle, S., Allen, N.B., & Friston, K.J.(2017). The
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  57. Bei, B., Manber, R., Allen, N.B., Trinder, J., & Wiley, J.F.(2017). Too long, too short, or
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